Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 1 of 28

% ( \eon’ AS 22
Qo boy St
Boise 2043 fot}

United States Strict Cou kt
FoR Srv. Desde ect of <DPbhe

Sil Con, Mah miliauy

 

 

Plawide pe Case Ne.
aoc Swtls heallh providtes Prisn pet Civil Rent ComPlerns
De Ceusorvets duURY ‘vice Requested O4es.. ONE

loetny Sunt La (wie, P2RSonal avd
in Wank OPE Cicll Ca Pagid

 

 

A\. Skis Occki on

We uncked state Oi otwiet Coues fo£ We Distict ef 20MM hes duacdectror ovek My Claims
Unde
i \ urwse SIA 83 plaintill Seek Reliel Pubthe violecbion of his Pedoeul and consti tutenel
Ria ht

2.) Plaindiff Also Ask Wis (ouds te cx CRC Se gupflemental SuRicdic ba ote s+Hte Law Clarms

3.) Swit sae Chien of dary Cowes by invoked PrtSueia + z¢ wise S133 inthat dhs ¢y
civil action alagieg wnt? Jheconsdedudion of jue wacteel Gheoles

{| Sate gate Cheon of dhe Pedegeal loved is inueted PudSuamt te 28 USC U3 G5) in

Jnat JWis Gubloa Seek bo etresc theclefraVadron veded Lolo? if StHie Law of Ric hts
Sicerded \oq Ack? of Com were Providing fob cava Right of Pemlor within +hy€
Sutisahickion of traraniled Sate,

 

 
Case ‘® v-00023-BLW Document1 Filed 01/11/21 Page 2 of 28
~) Vralure of Lhe cage

© All Nawedeffendemt did We collenia %
* Vvioleles Placasifl Nest and Ecqndr Lwend went

* Reluce do Ayeut op Dyourde Medrecal | feed ptt

” Refuse OR ianoge fo Provide Sy peyedyy

@ Wis ARQ all We Physseat Pyoblemes
“ Prostate

6 fanscls

Catly Liueye
Lowke Left Back Parr vot of dalenceat time

Riqnk Sheidet pou! parm

* CUR CUm EL SY ow

2 Golh egts Flothus Black fet
b Lung Mel mas, Pair On Bolland do fo Souw desiese of elmer Cause

&

g

Se

» heahs Ra ppr ech ( gert Hrd Cause (yonic Pain dole Chui pus blow

YEAR Pain on Boll Bees loss of heating and A Beery
Apes Awan

e PYZ Monies D2 SSeS

CA Sound on Boll Cerys Gurect Nev ee

+ all pusde cetl provider clolendent were made Known of aiitnes hao le Problem clo 4o4ns
Covid-lA Pendemte all SDoe Provided dnd wise wove OMI Ceying inmate NOfon an every
fay VaASig | civ loy- hae five they wee Seen Ail tuope Povigee aud AUKSES Core 2 allo Lng

Lo kew H-s -@ frat weve Submited. Meni na Haat all nance cle Lerdaut Dovider moclical
Di RectoPs of SuPeRvisok weve made mown of aul Lacs Cotltrt ComMlaint YAct © have glescy: ve
he/e, A+ MU me bb iny they AU Covee a oct ft mthing tyke me aorta tres probdens , and deck
Aok Provicled dvees Wey on dhe prostate Qvoblem = wes Peescvive & Aeleyferd 4 pe oP acceler
wed Cation \hat Case mo ab hemes Symptoms and loseokUigion anck confusiver =
had lng au Sto? do & Jne side e€fecs§ .

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 3 of 28

€

c.) Detendant Phi}; pe Hummermas. A a boo st4 fe
Ree dorsi oBbeX%s| boise SD Bs por
rim Claiming that Defendant did Uw following
’ Pid NOX DyouidLd CIRCAMC Sf on Su hase do (SCbiyist rancks bel fee cine Plackice
Did red ya vided Pvoslade Su Paths Reyroval.
® Did nok provided {rns dveatnead 02 Go there
» DS Wok Provided Fally Lived deal mend Ceoiric Mia
* Did pod Oye vided Ear Waking aids and ol Wealmiat Coonce pain
© Ord pot ProvihdtA Right Sholdée teers Mant Clouse Pair
“ Did not 0 povided Lo wee Lefd Back drealment Cronte Pala tasrollnalence et Fe
© Did not Drv vidta Laney Lfealmenk Ceonic dain

Did wot provided ON Diet eats doto Black Ploting SPot any freutment oR Remaringy hem

by d iwet yD vated peed Mew foe Raf pi og heer & ead HMiet Cave Chance (Ady
e Did not provided Lybatment Fol PUeypnie> c Ses
@ De Lo Deferdant friolating Plaintifh Pies! and Ciqnth dymoad ntevd Plein bill peste dre f

at lor wl
Relie€ Dak Poem pes 06 bowing
g ane CCAS ~ pusOAeS ~ BS

lob nag

> a
Monede uy (Poms wae
One bundved clotlans

  
      

punitive and Any Alaa tory Petiol pyre Coubd $ loo

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 4 of 28

C.\ Defendant pice Diana P t0ec shale
po eX Fool® Baise AN &3de9

a

Hm Claiming Wrat difendam did ee allowing

» Bd po prove clid CIRCUMCISION SUhgeey he bo" Christiancly heicel ank Practice
Did pot Provicted ProStee SUegehg Removal

Dik prot Provided FAaSiL treatment of SUlgey

Qvovicted Poly Live® Wecarwent cronee Pein

@ heabing aid and oh treo ment CMace farn

&

&

&

hd not

Dig nes (vou ide be Das
Pra vided (igut GNelde?g Ay eg Ment Crore Papa

. ° ou Zi ‘t Para Lag+ oF kus (Once att pk.
a

4 Did nok Ovouided Lew

. 3 yucded Laws treat meer
f Did wot Pray abs eyes lo 40 plact Clottine

a

jef4 Back Tread mend CoA
CreAle PaER
SPot anytt Acad mee td wh Lemrevivrey
ted Of
¢ Qcd yo (eo vidke
dg

, idl yio £ Prousdad drecit
@ Did not dye vicked SY gent ald
© Ph» b» defendant violating Plat.

te Lollowiag Reel

wend Coe ba pied Wocitt Beat phat Crees cal Pacer
Doe pyctonjeg OCSiSes

LE Legist aod ight Ammendyuand placa tiff wacd

sh erat peal lux
0 Lead pant of Se Rgtlg on Al name Jity seca paalta fv bigves

wy , at te by vel Liaw Coudt Blow
A moved %4 1 ¥te wr (hat functeve tivrd fl bred Ae latate. a Rel ef f $

One Nowdyedh dellads

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 5 of 28

Cc.) Selevrdaat Kelle Crain A abec SLAF '
(0 Bok (4 Botse 2D $3 te seats on FEAL

ag, ben
. Hoinniag Haat dolindant did the follomiag ¢ |
o rari Prostate Sae9ee4 Peoower neti a aeda Bele? ana pwackice
Nid nok OVO rd CiROUmMC Sion SUCGLES plato mY CWViStiadi"s
povided 4UvSiC Ayceweut ob Sukbgeky

* Did nel ” |
i ive? 7 fi OIC Peller

( 5 cht Ay, ive? Apeerlnturt CY |

bid yok pyvu jcliel pArry vi and ob L peed yenkd CwAcc (Pain

yua kine, Hi /
o , Dot vs

S bee decid ment cov’. {-
t Sho le 4 farn Last of lhylan ce ib igme

ack Heat mnend CvD4i

fa ta
Clotinrs, fot anytreatment oh Peynousng pbd a

anc

~

Ord nog Provided LA
Did nod Preovicled Kiqh

Pa

a

‘ pot Uf |
od oval bana 4yeadmant Cfortee
r) ‘ ww

t  paruided Or auit ¢y2> date pleck meat

# Did we ded freak Col pafpred hecu| Beat had Cave CVOH: Pain
* ‘ ot youl é i ‘ ! _ oe

von Aid Lyect uel fee Py eerie > Pesises a .
a bid pot provi plai Lt F Fisk aud Ebg bi Ayread ment Plat at EE Uwe

“Aa iv

e doko dutencecut violet
follocivg Leuer

vat Mbel

e byeat went of SuPqtity on cdl pletwrd Pay secel fre

koue ected ary dallatatoly aan

(ke pro blews
ef Feem Co wat 4 | dove

yv
AVG, nELCED | Wi dacnerl Paar

Ord rundyed fallaé<

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 6 of 28

‘
) deg | |
V2 Boxs, Beise 4O89 %4
o tm (laimirg lnat difendaut Aid {he Lollowsry dhs sdee hea lta provickee Kaow ing
oh alt my Cobeen Com plaiet of Naalln preoleurs ded not provictéc! Lyecebnrewee A Suhye Reg

4 . . Da if OR DAD EE oe. . te
é Co aint pabontad Cs es ke. ad Lhe glo te wey Chit Hen we lich and Prattice
eBid nod Proucded tunsil qvettmend of Sv eye a

ved Yer men corte Pain

aid and of trent iand erpncCere

ie Fain

Pea fin Log eet balance. at tate

* Did vol Prourdled arta l

# Wd nat provided Fat woking

. ys i 1. L C4
a (i ousded (iQ Cholgled. teed wiewt! C4
wane felt Gack duecrt mand Cronte |

2 Did rot pr vided Ot $ t YO, POU
ft Cah} paar td.
Mid wot provided Letty | oo
, ! ‘ ' ded reatimnent on Bolt eges dlo to hawing PUACE Plotting 5 Pot by
ia yy a : a « Plott 5 Pal i
e x net m hod tre ue mand Poe ba pried Neuks weit tak carge evorric pa
wok you! & | ae
al hol Dyovicled Lrectt magi fok py ceoniet AsiS25
o { i
Do te deterdant walatns Jlacatye E264 and Eignia Amendmend
w De

Collouce 4 daiek

> Lreadwant PR SuCgulg 01 Al hawe pag sical problen’
pay dele hadokg Marcel Front Co eA $ leew

PAG UIA] prt nr

pla atefl Kati fre

0 Ay mo Aedety NOMINAL, Puncdive anda
one Wunrdred detlaits

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 7 of 28

C.) fdicevdans Ree Bed nfhong 8 Sdec sabe
Po Bek Foose Boise 20 3¢ tot

i / 5 © tere vt €
eM Cla Wind Vaart glileAdant iicl ty Fellotrs, purs aAboc pue(a proree eed cy

s ¥ Oe jeug
ev t aula yey Cant be vit CovrPlerj wt of heer (tt pre ble vei € cid fot provided Lyrecatwiunt we Su gb va

ota Lyre feollonine voblens$
f° ¥ te . es be su eycley Peyrrecat
© Od net Ovourded PO cd ote bo
Ny your ded CuCmEES ivr GET
p Oa wot { ; ; funsel fy etonent ob Sv Reg .
»p iA met pyow by Ly Lived dyead yee CBC farn
a (ic vot py? vided “ abt are and aft drea-t wed Ernie Pater
Aid vot provided gai head i

- at nerd
£ provided (cqnt shear “ wn ,
" be “ edie Leet tek Wee ’
vide Lowe pore, fAEA
Mo boaviry lolol Clotting slot bg Lomroning haus
recite (att Hyak Comme Cran ce Pace

Wes Chivis tran bekeer cud PreCHE CE

cyoace Pain lost of bea lance ag Mane

2 pid ant Pev

p jor (le fendant violating Plaint
Dolloceing Retie?

a kyeud mink DE Sue Hieg on ali name P

yr al, PLewd Live and declaratory

Cf pies Ziq w+ Anendnravt Plain bel want {he

hggial Problems

yf, alee
eeliek Low Curt {le
Leia ( ¥LO
@ ANY prone €ieg {
nae puvrdreGe dolla s

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 8 of 28

C) Deendarvs Bion Colin A 2thoc SENeE
fo Bek Powe Boise 20% 3404

e <M Cla% yin ey ubhced, Artenda it cid Lad Pllou-vaey \ues cthec heel da po “idler Knewing
OF e{\ wre Co bROAL COvia Pact OF frectl(th probleucs Bret not Provided LVeerkueone of

Duar dy Cop atc the Pollo ing \ve le ws

¢ BL pod Drouided Prosdale SuPeeeY Newoval .

eD.d pot Provided Ci RCUmM ESA ee or) CIA been
r( ; atwment SF Ou “eg

ePyck Mot Previcled fuasic t1ca i

‘Aad Paths Lived Wecrkaatert cri’ Peter |
pew ‘df and ge treat Me vif Caf yAacd pean

© Wid pet pavided
Did nop provided

belkeland Practice

Ear Neakng Ge
Rigne SWoldte jy tactoedd

put nwt Lytle Pain lace uF Be lence cat f yg

aged orck +
jon movd Lyon Pura
(yay
o did Mot |
, P y git od
v hid not grivided decd meu
vfs

Co n provided dead Heit fur bea /prect ect ff beet fad Case CyeACE fltiv
i port ,

b Dial not / wuicted fypbehp nerd for f We Lonies tse £

& Jolt eyes cls io Mavisg Blac’ f° lobcne, spel by Reonoviag-

° db te debendan violateg fla cdi ll Pops aud & cqpdh Amend wep ble atie tier wf
Yo falloucng heliet
g treatm ok Suite by er Qe atu Phy¢g Cel Pvablen. ¢

a AVA WmoyereraA Move nal , puedeve avd tecla badoty, Celed baw €ovkt
> (G0 one hendret dollar

 

 

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 9 of 28

C.) Dependant Rushnel Anthony
(2 Bex Foelo Boisk ££) $3 Ie4

6 Lm Claiming jak deftadams did Hu folloing rig zboc nealte prow icheie a
ela wm Codpen Com Plaing of health dyobiuuet ded not P voila |Reat ment of suiegery
for Ye Fil tne Followire, pr vlews Removel

. sit Loyeey othian

Se Ce ee say chat

. Coo Wweetwiend af su fat y
a Did nek provided puns, 7 ace pair
pvo vi ded fatty Live? dyeatwent cvorre P nate pair
eas td yok Wainy ard and ab tread
é bid yet Pybvie . (tee Aequitas EMONEE fair
vided 2 cyt She ' . fente
’ pid At provi 5 juuenrk Cfonte Pain lost af halanceat Fi
1 ped nok provided Loued [ert Beck Henne”
Diet nwt Providid unc, Hrentmuent CONCERT
é ‘ ade i C20 fr lott ee
coe ee eeeiad Heoamars on pollares date having Black: Petting 31-6
aie Ape Kee rand Fok Rappied Weeult Deed Line Cae CPR CC PE

. You ak \ etgae

° Da nos , yicled Ly taunt Pot Puypelories b2s/ ses
o pid not pom
‘ do Le defendant vialat

ie plawtilt £: ast avid Eighth praand
Collowing geriel

A =aDo?’ S444

wele€ and Practice

Spot bry Memoving yrbins

rrdvel Maort bf paut fhe

v (Bus
ope, cue a Mae fly si cal Pre)
° veatnant ab avegtlig OM f
vainal fundive and daciertatoky ReAiel four Co

L

vet + [eae ore henetvest AM lasts
a MA pWuonereey onto

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 10 of 28
C.) duperdans (eledor \ose

A sOec SHAee |
fo bet 4 Boise =D $3404

0 CMA Claiming dak Atlendans Aid the. Fa llousimey thig —hoc hee itu praxdeR Crome vey
oF All me Coplers Cova flacnt of Neaith Problems did wok prowicted freatmand 7?
DH keeps fop. atl the Pollowrne, Py dblbur§

0 Aid rol pro iced Pres tate Suk Yee Pentel
e ghd not provided Jungil weatmens oh SA RYLEY

: , . we Faye
2 did nes provided Parbty Civeh Weekend oV? é

Aid not Pro pred Eade Waerng aid aud or Headauertd cyance Fatm
ohid aot

7 2 dy patncunt
" anes! prowl oe aa " : A ‘C POjtu (ost of bala poe a} ure
elotd pack fpaasarent Crorrc POT
e Aid nok pyro vided lowe le
pe Pam
a Jil nof provid Cand 4recennges eye P

d dd yrea tment 07 belt egls date havirg Black Plotas 7Pe} bug Remon gy
eo did not pr? ibg£e bo t

Lag 4 fok Fape
cdot treat me
& dad nob Provicted ue yusnt FOR PQERences AeGees

pod ti e* ee i.
Aid nat BON ; 2 pc g@or SRbGeEd do $e inf Wis beer believe and Practice
ded ORE ™
e pad not provi

lo lo foferclr ue Aolatirg planwtolt Lies aud Fights amend man plarat olf [at Je
e “ nguY

ned hooutt blo rat Cause Crowle Poca

Cllowiay a uier
nO Lek 5 planes
» tyeatment oR SUlgtitg on all pawe Phy sites! yr
| yest

. era ° [Qo OAL PUL
al Wwe nreitdey fro AACA L { Pavcdc ve Art A Abb lapawey Rel . ef from cow 4
e My i \ '

Aollar s

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 11 of 28

C.) dhilendaurs MEE Natur cer A zdoc S$HpL
fe boX tools P08 se xf) YS Fo

a am claiming that deferdgnt del Hii Following +e zboc pea Hi Aovicter
KRuowing ofall wy cokteer+ Com plamt vb health publems aid wuot Pprovicted
Tread Monk OR Supoeky For All LiL fallori“s problems

oid not Provided Prostate se bgeny Lemoval

did rok pvoricted dunsil fidatment oF Supgety -

edad not provided Pabdy Liveé +readment Conte Palen

dead Car poene) aid anrcdo€ Weetnuwt cronic Pain

ft Yorst
1 diel nat P ques We lee dy ee tire a}

tcdid nat (v0 reled
raed pok Pte ited lower je ft
ech LACS breast
olt ee? dete having ialack Ploting 564 by Cemuren a |

back treadiiend cvOArd pain Lost of Balane ett Hk

CVn Pace
a did rot Prous
sdid nod provicled dy catment on 8
Ae led Feeatinant Lok pap
provicler freatmant fob Mae Ponies Aesies

PCUMmES fan Gu lyeky ile fo yg CW'S bi crn belreve Aircel (ractce

‘ool jeares bead fhe CAUL CVOArE Pair

ath Lec Le
did rot prowe

. 4 Ade ti fb Hue
» dete dhfindant violating place tif Lee band Eighth qucerdurters Blinn tlt Adit

Glloriay Rewer
ody eater of Gu betty on all pole ply srl problenss

ANY Moneftidy, nowrinal Punctve and dicta ertuty Reljel Loum Cc t+ $ loo one hundred

dollak

 

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 12 of 28

c.) DLEEAAMS Sumber Susan A tDd/ec SHARE

(0 Cok Jooio Boise BO Gee
a Dr Claiming Mat difirdaut did We Gollorrng dacs aide hecubth pyocihce

Frvouiney ofall he, cobkimt Cann Plevimrs ut hee dh prt plénes did prot Pye utedeet de erp pice F

OR Supyedy fora he following Preblews
AIA peliefand Praopice

@ Didnt Pvourded prostate ouegerd Camera 7
migfon suegela date 4 Carrs

1 keeadnunt oS v ego

ue CPD RECS Paia

fp yecnurtot Clove Dain

@ Didnot provided CHRCU

& Did net provided tans
rouided Paty Livet Lreatimey

ia not P .
8 nol pravided pad rea nie ae “ee
mn » Dalt’ py tetlrynrde
it provided eight Shroldet iW 7 a (Patance abd; naz
roa Lett back fyreartwtad HORE FAL TON
del (awl ce pat =
4 Glace et oft Ag 6 Pot a Cera in§ phrery

; you
bid net ? , La ven rennet c haut
hid ; Bolt eyes glee CAVA
Ow

wt |
eat poe. barppied haath Dee’

fh CAKE CV DEUC Pain

Q vided yeu?
es
a Lye
cheek fy eee
nad POU!
AL plant: fie

foto jurendau violet

Callous LEAee
Sy KGERG ON all Poayad- Dru gi ce | p

ve and detla tadbveg eediel Pires CovPt § loo onehondred

2 C4 Gani é 5 Aes ies

id ctr ELQufn A tediel meet pla rede De wand fhe

 

&

yo bins

@ Lreatmewr OF
ge ann montdenes} nominal puncti

jlollon.

(Z
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 13 of 28

Cc. .
) de lendans Wournre, A thong 4A +t Poc S410 EF
PO Bor foo|o oie ap £3 Fog

AM Claiming Wok defendant did fie Fallocing Hey © Boe heatth provided Knouriesy
of al MY Cathend Cowplacnd of heath Greblems ded not provided {Peetmerd ent Su Cepek yy
Poh Yee AU THe following Problens

ay sdad prorareseRgers Ceusovat . chee
‘ bid ot plovlad i (hosts ee Mttes jo tomy Christen beleFand practice

+ Did not Provided Langil dreatmert of Supgeey
o Pid not Provided Party Livee kreatneas Cyne Pair
o Pid not provided Ear puupierg acd and oletreadmumh CAC ain ak Hae
A pot pn vidtd lower (eft Gack Lreatnent Lvonie paca (ost of Balan eae Tee
“Dey did ‘eaten ov Ao Leyes jleto having lolace PloHn4 sot buy Remove thd
{ 4 foe fopbied hewed beet {dt arse Cydace (ea ir
he. 42a 4 Ue ;

& pid yor pwovide ' ; Cok Py ehanies (lesices

vi dart yee 4; é Pata
o id hot prvi) pode Lpece tinea CY VALE

‘ Bl Met acta Uclativg |

@ Did pot PROW

Narndcle Crest and Eighth anand miner pla dade bh Wout fad
fe lo wey Rei et

breatpuane ot Sueglty cnak Nawt hy scat probolens
e

e Pye yaowttely pe rial puwitive and de clacertoky- eel Erous Covet $1000

Ane ruudved dollat

 

 

 
: ) Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 14 of 28
| len : S44 BL
(elere nf mWit zeg Joshua 4 2S0c Sty fy
Pobor 3! Boise m) 82A7

FM Claturing tho this Wealth Provided Aid Nol oChedval mre lot Lhe choc ter
nPlep MEREAD on all Mne Potloninn haat Pyoblem. and > lated Heal a hoc
A weeliocy Comuing uf aud to Addyess all uy CompPland wep Le Prorcdeé
No le } hak Ldwoc heer Ltr (voicleg chodlt tpecet AW tr wate anless they Kile
2 Checlucti FoR He Woblem Hatt thoy Wuiw}to be geen PR and daca the
SHC pyouictug § glont Like Lo Addyess nO C42 pye blew Hien diheone
Lhe Shey ih (22. Seine die Cw price te 20,2 cat cal Bod (V0e (LEP As€é
f il ee ’ . . -
‘A Twinaite fo Submite a HS -@ GP One PLL- Complaint Inmate
Ate Je ' ~ <. -
Wek Allow to Make Complaint on A H-S- 2 Dboud jwbuple hecabtl

Obes So Ly .

, (S NUR fril do SChedual Mete Get Stor Pathe Provichee
“AUIS hoa tty probdlne’s
ee agl Pyourcked beeadmeynt fob funsc oh Sukgeey
Did Wok provided Lower [ed Ratt Lealuent cronic pain lost of Balance at time
«Dd wok Prov: cloel dicadwmend Por Pyekonies clesies

" pyo 6 tate Sv hgtiegy

e Calle Liver Heetniedt abl be
, ave * Mbendatus4 violadens plarnttt Pract ane BiqQndr ancend meng Placatele witut +e

Follouaiaa elie
* \eotmend oh onigaty onan naa Physi cel Problems

1 cosy Moneteey nominal, PunckVe;aud decakabeey Relcef Pyor cote § 100 wre. heviclrect
dalla es

 

 
_Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 15 of 28
C.) dilerdans Shy Diack: lanula 4 =adoc StAFt
Po GoxS( Bot Lh $3pt
2 te Clacmeng Lak on (2-\b- te dhs neksr Came fo wed ode ave Ce Pase *
trectime Pol Ciese poin, she'd were tro male cfo tt my chao | ses t ° HE hg
WUE Ouray Hrs ayurse ome end oF Fact Krcl pad ria and $Ocs WES wall
OF AP fee polling mee Huet Chegy Main Ws Not mSgimPtond FUEL WAS Any Reckiegenca-
4K Lit done G40 Corte treed FOe, AS wellow [l- % ?-29 twas eallg Sick Ue
What £ pelceve was Coujel 14 Aud had A hake tlaw By eating YWis nu kyr Core bey
and PePuse to treat me aud Wale of AfLtee delleng ne Hick 2 Look Pre pote ques
Aha Sane wate C/o wees present Hurt proeuing fo thee Were pl fale (a Bedtertern
tiaur dnd $e dalle of Lluis nv Psd hag poue bracl o€ Pyro ble ux hie lPrrg nee Ane of
mates pre belceve Urect Ht has fo do Leth pe avrck [1 £4 p~ Cvrk vf Race Late it
LiPn$ out thats wes Really sick with Ht Common Flu
e do le dttindavt Vielatirg vaca Placats £ Cign{h Airérdimest Murty f leant

dhe pallowiay Reliel
b hvegd mend nbd lime aun Gece ob tn Pater

# ann pronetety , yominal Punitive gud vleclatatoty ie peel Pow Casdet ¢, (00 one
hundred Aaae .

e

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 16 of 28

P Lm larming dic orn @ 26 -Zo dhis 4-594 fromr asec wnt P- Cant to
ee “ TS -F-B and F fold hive Jhat 4 hadkchess Pac and world Lice
; “ by wredccat pe seud fred they wert Cate auel bw (eof Lo prope Cane
"s we Ong -26 29 £ (0G rte Wadt Ane PUSH Call Logur ath folk
Coe F rel Cheypel spetceve it wes Hw one Hertz dele Sipoogh Hue Call lign t
That 4 had Cheeks fata ced tod Like do Lee Huey Cex car che Gece tier ft

? Slee Cree te Calf fhe Aud all f Hef clei Coes fief SEK. Go Paid
COA Cs, link 4h ee
on" See dat thie eco Block Su AP chol wot Botund fo bal a MePee
+e See he,
‘ cle to iifendavd We lating my Ergn th duunrdwer4 Placa PLE ant phe

bs Mowing eles

e ty Cet Ml grt [Gad 2M $yok ofsn (ur

Ang Ma Nefetey Lope Adel Peugeot dye > py ; ;
@ pa b - j AG | PuNnidcse tind declan ato ey Lele 0 L Lou Co ut ¢ (oo
Wea AMAND 7 one henrdres dhollat

 

 
C 1:21-cv-00023-BLW D t1_,Filed.01/11/ P 17 of 28
C.) dik endard Omar Co Rel 4 NENG C. Ef (fo care
Go BOXIN Boise 1 8 e4e7

a Ty aiming dlicet the pwotuince oF (U_-(U 2d whe le AMS perth Coupe de pay
(loo R be 2 Bier (Liliviry ty fod purse that £ had Chere ain avd Sie Eqnoe me
Oud lid nat Sou dng fring aud Walk of As coon fs t fob my MLL

be Note: that fader? thet day t doid Gnothek Mak G6 Ailend G Pra phat F was
Wether Chluss fern Al Dog Grace Abe probing and flat thes nethe Rtralk CFF
UA Md Aertel fAakrng the. Ceprdt Jlrratt wes hettme ches, parr Ww wal
2c 7
VE bas call. farmee B ard prtooe nee to muecdeceel Bar halpgirag
AU Lie (ACs ; ; | | | |
4 Line k S& béfanrdend fa eee, fue true i,\ fo 04 aes.

é “ . 4 od , - |
: wn habAass nant wovid uf bot (afi deer ih ACS MERLE ona werido£ foat me to
UL AE oeul
» ile did pot Dvodicltcdang [ecapubad a Bleeding Prom pry Bolt ankels ele to being baveto Use ys Stray
Wer mrout HAt of cell pugee pler fhe Lut anct glk nut 4yecifed we

a bo fo be ttvrdtef (Ag [ALS pawvtyf a alt th arvreyeca nev Plt EF views
df fo lows ag (Ze (ceFé

o heaters pwtat tur Grek off ia pain

emg pene Ry Nomenal puncte, are declabaf ey Relief fom Cont ¢ [00
ont pouactred dotlad.

(t

 

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 18 of 28 4

Crd. j :
C ) Dé Cendauys Caemeg Bryan A tDoc syad¢
f° Geax 14 Bore cay 34ot

@ we Claianing Jud defendant did Lhe Pllowing prpn ne hel? of 766k SHALE ondate

lOAK-2o, Beflendans pias Call ACO 7 tld unct Stab Wat -Z buas Racing chess peer re Levelt

Came and ase ma wheel Wns He problem. F fold Aim chess Pada,
» ablee CoP Rel. Werunruere Gurkotier (adel of the % male fo Hat were Jressevt fo Hus Murege oF 44h
\lason why g ees in Zs or rn. %.. TL ur § tea Shackel rand CYVEE and Lumile buy tie

roa? Cle-ho tack g- it dhevy Carer and wes ACE Le gyro na chacé
eto onze Side ef me was {Wis Arana Loving male fifo WALES fn a 5 4enden4 Position fo Seton ?

 

ovr mervl £ wmfcld a nvjorg Loud
Me nutse ck mae wbwcd Wes pute. prrbole os ,
WVAd f bod Wuesr Omar. of hand one (ape heme and walk oft bead
v this wenten che ltindaa Know plas Ol Crom £5 C¢ atv a cloe Like plane FE dote roe se “A
Lowore ab asco Pace (yhey MUSE UGSERG-, WAS biS Kyainy shabf and heckid Me TLE Jee
About ma, dey glonk Like way 4c€ oh sex -erinde
e He dbbtadanrt Wale To me Geigy Corte. Lully while al Fimade Cfo tre al Hieond me Readeg te
Reale? duel ddofttadant Standed po bone pay Lekt Chast dhe Gard foe te tell blocs

2 fold hime dha since jue moenira, ZF Wais haviovg Ares Fein

were ct eee .
2 dotd Lit putse Haat (fb Wes Wot us Ue 02 on Hae Shier, Ll cle Frdort purl t Risk andl Pages

Detce bo Unecth mq hoot while (ede Firdan fad this Fcovid not bat biti) my Seif Abd Notice
Lovet We Cian clo aud hes offer 6 foo tell whaie male. Bold hecceclefo wiele Witt Here retArcined

ub Pecsdy fo Fralome.
’ Ue pudse told all die male edhat chad reverted buat Bead ancl that ried needle Ge fe

ME AC CoL bMS WOK wnt of Uact F- by dhe AGrau Cfo avid de 6 food foil -<lo Ga Ce wert she
4 tod Lhe ASA C/o that eeoeid not reik eignt av A weanded do get 4 Pike on {he well cen
CHAK. the whe fo fold pacte stage wedbing £ lwid Lhe that tuas hesobs ertél anda

CLA on Jad CWE.
edhe Decendanr Came ewk gdé ofPunct B And UWS Haising WS Voce Stating te Bolt Clo

hey wis on flobble-Lall z dat Bill Concegnel wrth hina Wedding on Back of we
eu ASIAN Yo Yvab plarrlt by Lye cil As to futl Plainflf oft He twos poet Cok avd fluirdell

staked Flat walk tdoot fh good
ety ect iitland Slated why tulry Cttin + fore UGA AA Coued Yorce , = aiielt Fe i of ood FO Wale eM

Murr, flacatefl Gated
> Negendaus Shared well YouR Joing have to walk Fdonu Dll Concedhel with Jou tiling

behatad ye .your Avine fo pakto houde (+ ont,
oat le?d d whole miaute of Silem4 the fall clo dated with a lotaf Fast ubeteu a, Look men

by vow Weiwecaid of Jullerto aedecal aedewt Know Why You cleart wate wath Look

15 A Sunme day

(5

 
Cas@ 1:21-cv-00023-BLW Document 1 Filed 01/11/21 Page 19 of 28 z.
C } Ne Fendaud Pagwue Bryan

v Ro one Said Abd (ua a head Gr leat and Plant Ll Said wee Flbes
duce pont puvd 40 ive mea Ride weil fen Pind via umeéel Char€ and Pust wre fo
Mekecal . . |
» Wow bad do qou Pili cleo ase jue chePendant, Be
* Cadenrole bo nop wee .
# Hie kA while dlp ASK Pok Lig ve male clo Haar Wes by tt unt § dot ‘ a if
Wi My po LE browld be +aken Te
TNIER WAS a wheel Chave fm the Lnct ome where > Parnsif
medical aud tre mactle cf whan Inside foe a wheel Chach : Le puactecal
. : ~ f ~upie't fo Ao or ote
by {ues fone Plame Since he wes WAIL vd Gr Ae fren ut | 9 |
he nes Leecking Cok ncode ther lo mint clo fo yue clenves of hades Port PIM?
@ AU uteng OWA wheel(chark
avothe® PvE Wain use WAC ‘ ws Sid ort and (Jufh +o pad ice
ee wheel Chace Came and platy Wee 31
wrinude (cold Plarndaff wes'in muckteal I~ 4 fa
co - , nal fe At
e plakrtoff was Ask fo sik on thes Beet 4
. ; Wy ar V2 bed fo Wake
# Hae hese os push and full Placa. Y ovr
whl emo, hand CUPE with Beth Navrds or hes Gack, +3
CRUSh Placnt FE Rist Bac’ on bef
cot by malainrg me lag onvert
e plac atye Scud ney rfoure hy dtirg wre R st Oy 65 gagle Arad Lie wulte $e cle Keefaw Fithing,
oF trem and plaintrbe wes tiging 7 eo 8 lo lo pie ECG OA YOU
PaintnPt do ley op bee Batis Hetiora, Way he Need 6 . (yp at we me COS Hees CVF FE
» placanyl Seach bt nkudf me ard Cee hf red Ptteed § PAPE ‘
Abe C¥ushirg Wd fast and Clawing oe ae comarclle wd ase pie PREM S On tes
e {he AG(ar Efe Pre & Phnt Lp? are Cat CP COSEES no $f CAAA. Le
ReS tyane ala apvie ia the Lrernt+ Af pek find WA nwt ve fathing fo fhe SMG macengliye
Cb Lees Chega?
wh ch Ck. tok lah YF
» dhe fell ce witha loud vorce Gad Wee nef Jorag fo nave any frowlts hee. f
Said ve / ' . Lon le
» whde tHe fut fe par Remouing he hand cuff Me ASitin Cla ues (a feud ake (Ze on
doll on we, he ASK plant Vt fo fru Both hand? or hes heat flange ye Las avd <
in Front OF Dian ay dhe agian clo anc whilé He ASIAK efp wes clara 4S hives Look Ing
Ar Men HY Wath Suc pate

| sever

plat? lag ow hes Back
wangAr- uw eight pe placat lt

€ Plain tite OnE Calf nA his Lows fre Licey On Wes PACK ane dine pcre Mixese Pash up Plast fe
ee APLec lo mMinudc of Keguing and eth ney Pe Rea cbitevn ira t4 hand vf a Crowd
We FOG tifa ates cartes

(A

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 20 of 28 3
C.) petendant farrier Ry or

@ whrle bv dtttwdaws nrorr Comindetrers fhe ca ples onde S hic Kg Pad he Steuided
bo Ask plawentf jtesQogaboly question About why he pres AP SSCr
@ N\elindant Serd 52 why ate yourn doblol pull ¢
» AMY Said Some HALF ACMus pe cf ASSUlt
o Keperdam sacd wher naadtdou clert whe madeyou Abu lt SFA fe
e Plamd He Seatel dhis lage — Nast Wak en u? Sh ess
e De ferylawd Seated Sopre ofl *SCZ nnct® SEALE meet{ran bat Yow Fergie aes Permvett
Mv ibe
0 Plentelf Scud Lhats nerd StoPy aud ded not see! Here Hecag eu ~ ECG bee
¢ wFLee Hnes ¢ npekbegatoty quested Wu nuiise Posn whew Kayden He ECGmac “me
| . | ath dard Qopthe. NAPEl vituthe Resulf and Rémev€ all the
And ALYCE Afew Second fuen t off ¢ f $ ae Ready, to Sum for me
lables vf pcunbV By dey av weitle otf Wmakeatad phil Gott Glo WW “4
° plannbye WAS WtAe tong we lomyudde Hil fle Se cenrcktr yt Care bath dud tote theclo phot
he vas Clead Heat be probably had multiple anteety pttAck
2 Both Cle they fut lank hand Rehend hes BACK che ine yar’
Welle ko Me dood aud tne Agar d/) Said You Con weik now Likes aq Sell
. ; of SE (Eph te y
Com Pliters heard of Soue phiag plarntPe Saicl Mo £9 4M See eceeHerrs

L BA (za E8OF
QB fue And placa fF Hee puts pA (He etree Chea aire Push do cert o L vepuincrtt
1 Ql Lacs KOs dont owt of hate dud te haPass and Res cotyn rete Plan tfF Ane VA

Wim _ | |
*dote defendant uolatiog Necntv lt Eighth cqvneved nabiot Plenty ant fue fotlowi ny,
Reed

£ de etter ina ti wr2ly Pagion and Ajob haps 5 avd oft ches eying bed

Sand Py ocean ke, Curl WAS

“P Sonne fray at wel ok
ded cten gh

PAY monettity. rominal, puncte and declatatel ys Reel foucoPt Slao one hundred

pollaes

 
C. ) de ne S Cas e 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 21 of 28
(ha Aus Dat as Lindsey f

(? boy Jou (° Boise ap Z- Soy ) Bes *Anel

e Bm Claiming Lhatk dependent gn 4-2-2? AA not prourcled pe rsh any
HWCAt KAYA When ett < oleh lif tvdiink Wad << Was having cress parn leferclat
ttl (t off p> was AE 2OC0. ja A- Block Shoe? girhroc A tAtdKe SCY eEentng +e
M hovee mm Seq peberdank iqnoke me kipen £ doick Wek of my Chess fein
Beleeve TWA She hid Lic's jo lo that £ war jn Ln€ fwlé ov tee A Acéusation

oF ROReLiatly +Sh il te) Sa yoe Stake

o oto helerdant yiolatiang placwill Eighth amendment plain KEE want (ne followtng
eter

@ Lregit mend wher jmnGick of In fain

o Any woneledy nomicwmoal, Panéhve and dleclawoadneg Rewel Hore Cowid {leo one
t

h unglued olollagd

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 22 of 28
C, , He header Se Cees LOnA A aboc C4 ee
fo Bor 4oois Boise 20 $3404
Ler Clamio Jhat [nes Avitvande pespurden ce dened me tht following
ty 2A naar aud Suite Puy
« CIEE VIMC( Shan Su heh bry
» VO Chad’ Sue yt ky
» funsel B4rlrkvners of Sukop bay
“pk tyeaderdnt
‘ Patty, Lived fyeadumrews
+» Rignt Suelden treat acend
0 Lowe lath Race patn theatmens
’ Bo lt eyes dreatweine on Plodeney Blacic Spot
o (reaps RapPrecd peat trecitment
& Lins frente
RED .
& PY oni es ALS/es Lyecrhywued PPS eatery

b Tan cacencng Hout duis defendant Enouing of all amy hearth pre blem coviel off
WA ‘ “ . ; .
ned ~rR Lyea@tinent buy At rey ind the Les ponce fo 4ne

ned’ me but Choeast to ni
Pru(hple qvievane froth Submctt4ed fedues bingy leona

0 doto dafendaur violating plamrck Pest anc Eignth annend nner Plavntll Lewd

Hu following wearPetiel
e Arecthweont oP BUR Geey on ali Yryoral Problems

B ana wronedely Nowmecnerl Punctive And dieclalately le ek (row Cornet leo
one pundyed dolled

 

 
C Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 23 of 28
CNS dabindans Sones pebvece a epee o,.
(CF A shec S44 er
VoGoy F220 Boise in Bz oq

e am Clacmeng Hred tics ay tuner Lcbpemdance denied me the Following

kerk mek cond SUPyetg
0 Ci Blumer sran Subeyethy
© frState Su bepely
e bungil bveatniur of subgeey
e EAR A~ealwert
2 Pally Lived tw eorbues
© Rqud Gpaldlue trealment
© Lent (eb Back paca tyeadmeer
‘ Balt eyes fy edtrnevit oO Plolas black Gpfed
sheesh Rappied Gear trtcntns

« Lune Vy teres |
eMonres ceSieS fremont wk Ubyeiey

e %,
@ am Claiming that 4ncs de lepdant prowirey of ah poy heebtr

f nd Ls et
Dat Choose 42 denied meh perlite b4 etenré Ying dye Eth tong

sust 2 Suburcted Reyes ting Lyecttewt

(ve Wiewes Corwea off NEP wee
fo Hee putt le pyc eine

, fo Lo Atkindavd VislVhtnrr plenty rest avd Eighth auuencdtutry Plan tv perk
je following elie’

e drive Mbit we Sum pely on at Mea & cal fw pleves

o Arley Mopelee .
Md Monektey yorreval  Duucdee and elt tla ebsbay eleel frou Could ¢loo
one Mirdl pep Pollate

LU?

 

 

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 24 of 28
C.} he Perrdaus Johwson Cuvis A atdvc Stale
Pobot Joule Boise 20 Oy Zo4

eM Claiming dhak dacs Gyi€vance ResPondance Aevied yng tne follo
sreemment arrel sublytty

cat whe
e COMM Gre Gu Pyehey”
# Postate Sul EY
= dungee Lreapwunrt ok SUEQC RE
eae preatwet
? fatty Liveé by catuuutt
@ Reqd Shp lided treatment
e lowed Left Pace Pain Heudatt
e folf les reamed? Flotine, Black ¢ pat
a heated Capped Beet ry eater
¢ Livny Si at mart
a Py eRoncag he es eaters aft Sa bapey

© ewe Clarina Yrat pcs deLendeunr broweng vb ate mney haa Ht problems Coute eff
he? re bud Cheese te Anvied me dertlnens by déenceying fhe Pes Pore fo the
jruddite \rrevance fred 2 Sul mith Lequctpne {recat}

« dole Al (ead Kolating [Plein Ef Fidst aud Figuth clunend mend Plain ff wat
Pié following Relief

2 dyeak work of SurqLey on ail Phase Cal Pyoblims

% hig mew ned Lyons Me WMA (Punetede and peta rately Reicel Pyons Lar t 4 loo ore
huudied dollar

CU

 

 
; Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 25 of 28
C ) Defercaung Pi LeSenr SaAMvVeE|
fobot Powe Boise zi 8 F4F0F

\ dec Stace
@ Tm arming drat dacs Sviduance Responrdance denied me fhe following treatment
And SA qeiey

@ CLECUMECS COM Sudagery

fhestate Supgees

v tunse( Weafuet o@ suPyedy

eGak biter

2 Padly Live torment

e Right she deve. dy cat yen

7 Lowek (elt back fa dr Lfeectyuenk

© Balt exes dy eatuntr on Plobcng BGC Sfot

@ heat Raped Roce tyecttront

a Lama deatmert

e PWelonies Aelies Hedtaumt off Sukgety

¢ tm Clacming that Lnis défeactaet Kroc ney ofan met belt problion Contd off hei?
me but Choose bo denied me freatwuenrs by demeying ne Res ponce fo the Methyl
Siveiuuce Hat 4 Submettes Kegittyag tyatnent

w he to Abend. Walarhye fléantiff fa est duct Eight Gniideplomrend placatolé aed
He folloing Reliel

o treakneyr of Sueeey onan Physical problems

P OYA WOMEhey  Nowicnat Yructil and pleete de vr Cennht G (00-08
Wunelved gle (lad ke 4 tatots Relief Fron lo

US

 

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 26 of 28

C - \ de ferdant Cane AS Alen “A “boc $-+4 fl
fo fer Foo(o boise <p $% fog

mr Clarninsg dro HAC Brveuanct Respondance denied me the Pollowind tpeced pret
and Supatty

€ Cr Ccumlseséan Sulorbg

af Ro State Gu yey

o tunic Treated oF SUPoyty-

» CAR Lrewement

2 Patty LVed dreatuerk
elowee (elt Buck flacr Hearse
‘Bolt eyes Cractmenk on fletreg Black Set
« head rd Beet treed nebert
“lung beaten
e pMyeonces lesres 4reatnumt ok Suenely

"tu Clarwrine brat Lhtes cbe LercktwA Knowing ot AH DXF heatth ve bltins Cok A Cf
rely wwe but Chooce wo dened nt veatwuovd by Aenieyine fhe RAS 901 +o the
WMulhYple ay: euance fat 2 Subrarttet Leques trey Ay cateuerp

0 hele delta iro lative placatclt List pond Ertl gurendmed Placat LE want
Lyre followrvg Rete?

& treatm pt SuUplgeey va al f My cical re bles

e Ain) WAdreleg , vo wrt nce _ Pee fiVe ; and ctec laplirfoy Cele ef free Covet
Sh lod wpe Wiudued? pb (cobs

TY

 
Case 1:21-cv-00023-BLW Document1 Filed 01/11/21 Page 27 of 28
.) Placnseft Sifeors MAKi millane Tevez
Po BK S\ Yotse £0 £3 FF
€ wpe {nt Placwd Cf jASMCES CASE /aom Ce Hizenr LO ws Akgendyer Ganta fE
5 cur Cobirndly WE Best presen
e tun BRinging Clarms Aqamsd al rane Hetindan} 0
Brest and Ecqutr aurend mart. do putt Hey fadsece pubed 1a Nok dvectteng
Me, 0 Mot povideng PelieP on a pry “health problemi As Well dy do rat
dU eiddnk desc nating MEL and ignoe me and of habassfednue whirls at
fReatnent, of lid vot prod ang {reatnitu} at all

nA Violation of Urg-

eM ASkeng fires Covils Poh ail of rey heatlh Pwo blemr to betrented acl
of UE GL CY te be Provided. As uu mm AS Reng fits Coukt do AVA WA Hae

Os moneteey jared pal Purctive aud cleclatatby beliel Hor Cores a
And $ loo one Wundeed dotlars fou-att delendawt

E+

 

 
Case 1:21-cv-00023-BLW Document 1 Filed 01/11/21 Page 28 of 28

 

D. PREVIOUS OR PENDING LAWSUITS

have pursued or am now pursuing the following other lawsuits: (inchede (1) all lawsuits in state or federal
court related to the subject matter of this action, and (2) any federal court civil rights lawsuits, related or unrelated, and
note whether you have received a strike under 28 U.S.C. § 1915{g) for filing a complaint that is frivolous, malicious, or fails
to state a claim upon which relief can be granted.)

Court Case No. Case Name Status of Case Strike?

 

 

 

E. REQUEST FOR APPOINTMENT OF ATTORNEY

I dol donot C) _ request that an attorney be appointed to represent me in this matter. I believe that
T am‘in need of an attorney for these particular reasons which make it difficult for me to pursue this
matter without an attorney:

D0 ono AMolaty Hoss ble

 

 

 

F. DECLARATION UNDER PENALTY OF PERJURY
I declare under penalty of perjury:

that I am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621; and

that I deposited this complaint postage prepaid in a United States postal depository unit on ;
GA - U6 (date); OR that I gave the complaint to prison officials for mailing and filing with the
Clerk of Court under the indigent inmate policyon_[-“-Zf__ (date); OR (specify other method)

Executed at tws 2 on | -~4-2/
(Location) (Date)

Wie i. y Lim

Plaintiffs Original Signature

Note: Fill in the page numbers. Keep one copy of the complaint for yourself (or you may send a copy to the Clerk
of Court with your original complaint so that the Clerk can stamp the date and case number on the copy and return it to
you), but do not send extra copies of the complaint to the Court for Defendants or otherwise. Do not attach original exhibits
to your complaint, such as your only grievance copy. Do nol altach more than 25 pages of exhibits. Ifyou have more
exhibits, wait until the Court determines you can proceed and then seek leave to file them for an appropriate purpose. After
your complaint has been filed, it must be reviewed by a federal judge to determine whether you can proceed.

PRISONER COMPLAINT - p. 3_ (Rev. 10/24/2014)

 

 
